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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re                                                             :
                                                                  :
MADISON ASSET LLC,                                                : In a Case Under Chapter 15
                                                                  : of the Bankruptcy Code
                                                                  :
Debtor in a Foreign Proceeding.                                   : Case No. 18-
----------------------------------------------------------------- x

                  CORPORATE OWNERSHIP STATEMENT PURSUANT
                    TO BANKRUPTCY RULES 1007(A)(4) AND 7007.1

            Martin Nicholas John Trott and Christopher James Smith, in their capacity as the

Joint Official Liquidators (the “Petitioners”) of Madison Asset LLC (in Official Liquidation) (the

“Company”) and as duly authorized foreign representatives as defined by section 101(24) of title

11 of the United States Code, through their United States counsel, Norton Rose Fulbright US

LLP, file this Corporate Ownership Statement pursuant to rules 1007(a)(4) and 7007.1 of the

Federal Rules of Bankruptcy Procedure, and state that the following entities own 10% or more of

any class of the Company’s equity interests, as set forth below:

                Sunset Investments Limited, a company incorporated in England & Wales
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Dated: New York, New York
       September 18, 2018

                                        NORTON ROSE FULBRIGHT US LLP


                                        By: /s/ Andrew Rosenblatt
                                            Andrew Rosenblatt
                                            Francisco Vazquez
                                            Attorneys for the Petitioners
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                                            New York, New York 10019
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